              IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION


UNITED STATES OF AMERICA
                                   Case No.: 4:22-cr-00612-S
v.
                                   Honorable Andrew S. Hanen
EDWARD CONSTANTINESCU,
PERRY “PJ” MATLOCK,
JOHN RYBARCZYK,
GARY DEEL,
STEFAN HRVATIN,
TOM COOPERMAN,
MITCHELL HENNESSEY,
DANIEL KNIGHT.



 DEFENDANT EDWARD CONSTANTINESCU’S MOTION TO CONTINUE TRIAL
  DATE AND FOR ORDER TO SHOW CAUSE WHY THE GOVERNMENT AND
   SECURITIES AND EXCHANGE COMMISSION SHOULD NOT BE HELD IN
       CONTEMPT FOR FAILING TO DISCLOSE BRADY MATERIAL
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        Defendant Edward Constantinescu, by and through his undersigned counsel, and joined

by Defendants PJ Matlock and Stefan Hvartin, respectfully requests that the Court continue the

current April 1, 2024 trial date and order the government to show cause why it should not be

held in contempt for failing to obey this Court’s orders to disclose exculpatory Brady material to

Defendants.

                                    PRELIMINARY STATEMENT

        More than four months ago on September 12, 2023, the Court ordered the government to

request, search for, and produce to Defendants Brady material in the possession of the SEC and

FINRA after Constantinescu sought to compel exculpatory material related to his Meme Stock

trading. Rather than abiding by the Court’s order, the government produced what it refers to as

the SEC’s “investigative file”––hundreds of thousands of documents (tens of millions of pages)

of primarily duplicative trading data already produced by the government. Buried in those

duplicative files are folders containing information that appears to have no relation to this case at

all. For example, one folder titled “FINRA” contains random documents that have nothing to do

with any of the Defendants, any of the stock tickers at issue, or any of the allegations in the

Indictment. The government has wrongly presumed that dumping these documents absolved it

and the SEC of complying with the Court’s September 12 Brady order. It has not.

        This past September, counsel for the government stood before the Court and represented

he could “guarantee” that complying with the Court’s order to obtain Brady material from the

SEC and FINRA would be a “bigger deal” than the Court understood, observing: “I’ve dealt with

these bureaucracies before, and it’s nearly impossible, and things that you think could take a

week take 12 weeks just on the most basic, fundamental issues.”1 To avoid its constitutional


1
 Counsel spoke from experience: In February 2021, he and the other DOJ attorney of record in this case were
ordered—over the same objections the Court overruled here—to review and produce Brady material in the


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mandate here, the government has attempted to recast its obligations by (1) disregarding specific,

detailed requests from defense counsel, (2) unilaterally circumscribing what it believes to be the

possible universe of Brady material, (3) and asking the SEC and FINRA for a dump of data that

is largely useless, irrelevant, or duplicative of what the government has already produced.

Simply because “FINRA and [the] SEC have expended significant resources,” at least according

to the government, [see ECF No. 446 at 4], does not mean the prosecution has fulfilled its

constitutional duties and that Defendants can be assured they will receive a fair trial.

        The government chose to allege a baseless but headline-grabbing $114 million

conspiracy charge against Constantinescu, yet now seeks to shield from the Court, the public,

and the jury evidence in the possession of the SEC and FINRA that will exculpate

Constantinescu of these allegations and render the government’s expert witnesses not credible.

Among other Brady material, it appears the government may be shielding internal SEC

documents describing CEI and DATS shares (the focal point of the government’s Indictment of

Constantinescu) as “Meme Stocks”––a class of stocks that the SEC concluded, in response to a

congressional hearing, experienced price and volume movement not as a result of any

individual’s meme tweets but due to several complex market conditions and actors. In fact, it

appears that as much as $70 million of $80 million attributed to Constantinescu in the Indictment

was Meme Stock earnings.

        As critical, the government—having sought to and in part successfully limited

Constantinescu’s subpoena of documents from purported SEC whistleblower Hutchinson

Bernot—now refuses to turn over evidence in the possession of the SEC further corroborating

Bernot’s statements to the FBI and DOJ that Bernot was unaware of Constantinescu ever saying


possession, custody, or control of the Commodities Futures Trading Commission that it had failed to turn over. See
generally United States v. Bases, 549 F. Supp. 3d 822 (N.D. Ill. 2021).


                                                         2
anything false about the stocks he tweeted about. These are simply two examples of the Brady

material the government appears to be withholding: the SEC undoubtedly possesses a trove

more.

        The government has sought to limit its obligations by abandoning $80 million of

purported “profit” resulting from the alleged $114 million conspiracy and by claiming it will

seek to prove only 54 rather than 397 “episodes” in which Constantinescu purportedly failed to

disclose his stock sales on Twitter after tweeting memes. But this does not alter the government’s

Brady obligations for three reasons. First, the Indictment (and Superseding Indictment) alleges a

$114 million conspiracy (based on Constantinescu’s trading in AMC, NAKD, SNDL, KOSS,

JAGX, HOFV, and other Meme Stocks in January and February 2021, when he made over $50

million on such stocks). Evidence tending to undermine the conspiracy charge and those

calculations is exculpatory. The government has had ample time to supersede again to narrow its

charging instrument, but it has strategically chosen not to do so. Second, the SEC’s conclusion

that multiple factors caused price and volume volatility tends to undermine the specific-intent

element of the conspiracy charge and substantive securities fraud charges, as well as the

materiality element of the § 1348 securities fraud charges. Third, the “expert” witness identified

on the government’s revised January 19, 2024 witness list—Maria Garibotti—previously filed an

expert report relying on all 397 episodes, including Constantinescu’s trading of and tweeting

about Meme Stocks such as NAKD, SNDL, and others, to reach her purported expert opinions.

The government has represented that its other expert, Peter Melley of FINRA, intends to opine at

trial that Constantinescu caused volume and price changes in these stocks. That the SEC (1) told

Congress something different than Melley will say at trial and (2) possesses substantial internal

communications and material undermining Melley’s conclusion requires production of that




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evidence related to Meme Stock volume and price volatility. The Brady material in the SEC’s

possession, including internal SEC communications and notes, contradicting these expert

opinions constitute impeachment evidence that the government must produce prior to trial. More

fundamentally, given that Constantinescu’s fame derives from trading Meme Stocks and tweeting

memes about stocks, one cannot envision a trial that precludes reference to the Meme Stock

phenomenon.

       The government has made no effort to search for this or other Brady material, as

contemplated by the Court’s orders and reiterated in defense counsel’s repeated requests through

letter and email. Accordingly, Constantinescu respectfully requests that the Court (1) continue

the current April 1, 2024 trial date to permit time for the government to comply with the Court’s

orders and (2) direct that the government to show cause why it should not be held in contempt.

                                    SUMMARY OF FACTS

       In December 2022, the Honorable Christina A. Bryan entered Brady orders here that

noted the government’s obligations and warned that “potential consequences” for violating the

orders include “sanctions such as delaying trial or other proceedings, excluding evidence, giving

adverse jury instructions, granting a new trial, dismissing the case, or finding the Government in

contempt.” See, e.g., Ord. (Constantinescu) [ECF No. 42]; see also Arraignment Tr. 20:7–12

[ECF No. 226]. On April 27, 2023, this Court entered a Scheduling Order, setting July 7, 2023,

as the government’s “[d]eadline for Brady material, Giglio material, and witness statements.”

[ECF No. 254].

       Thereafter, on June 6, 2023, after months of discovery demonstrated the government was

unwilling to produce exculpatory evidence, Constantinescu filed his first Motion to Compel

Disclosure of Brady Material (“First Brady Motion”). [See ECF Nos. 286, 311]. On July 8, 2023,




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after the Court’s deadline for Brady material passed and no such material was forthcoming from

the government, Constantinescu—joined by Defendants Perry “PJ” Matlock, Gary Deel, Stefan

Hrvatin, and Tom Cooperman—filed his Second Motion to Compel Brady Material (“Second

Brady Motion”). [See ECF No. 322]. The Second Brady Motion focused on the fact that the

Department of Justice (“DOJ”), along with the United States Attorney’s Office for the Southern

District of Texas and the Federal Bureau of Investigation, conducted a joint investigation with

the Securities and Exchange Commission (“SEC”) into the underlying facts purportedly giving

rise to this case. [See ECF Nos. 322, 339]. Accordingly, the government was required to identify,

review, and produce Brady material in the possession of the SEC.

       On September 7, 2023, the Court held a pretrial conference with the parties (“September

7 conference”). The Court heard argument on Constantinescu’s then-pending motions for Brady

material and instructed counsel for the government:

       It’s the United States versus these defendants. If [Brady material is] in the
       possession of the United States, it’s in your possession. . . . [I]f it’s exculpatory,
       I’m ordering you to produce it. . . . [If it] has to do with any of the stocks in the
       indictment or it has to do with any of these extraneous stocks that you think you’re
       going to offer into evidence. . . . [Y]ou’re going to have to explain Brady to [the
       SEC], to the extent they don’t already know what Brady material is, and say that
       the defendants -- the judge says if there’s Brady material inside of this -- your
       investigation, you have to produce it. And so if there’s exculpatory evidence, you
       know, you’re going to have to get it from the SEC and give it to the defendants.

Sept. 7 Tr. 55:15–58:18; id. at 64:23–25 (indicating that records from FINRA would also be

covered by the order). Later during the September 7 conference, the following exchange

unfolded between the Court and counsel for the government regarding the likely timing for

obtaining Brady material from the SEC and FINRA:

       MR. ARMSTRONG: So I hear Your Honor on scheduling for next year. My only
       concern is that, given Your Honor’s order about both FINRA and the SEC, we are,
       to some extent, beholden to bureaucracies --

       THE COURT: And you may need to report back to me --


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       MR. ARMSTRONG: Yeah.

       THE COURT: -- and say, “Judge, this is a bigger deal than you thought it was.”

       MR. ARMSTRONG: I can guarantee you that’s going to be the case, Your Honor,
       because I’ve dealt with these bureaucracies before, and it’s nearly impossible, and
       things that you think could take a week take 12 weeks just on the most basic,
       fundamental issues.

       THE COURT: Well, and we may have to change. We may have to -- we may have
       to move. April may not work, but I’m hoping it will. I’m trying to be realistic,
       which is why I didn’t take February.

       MR. ARMSTRONG: So I -- I have one suggestion for Your Honor. I think Your
       Honor -- I may stand corrected. I think Your Honor said that we need to make the
       request to the SEC and FINRA as to all 397. Did I hear you right? So if Your Honor
       is inclined to limit our proof at trial to a more discrete set of episodes, I think that
       would go a long way in, fingers crossed, helping speed along our request to --

       THE COURT: Well, I’m not sure --

       MR. ARMSTRONG: -- either of these agencies.

       THE COURT: I’m not sure that I’m in a position to do that. You’re actually in the
       better position. If you want to -- if you want to limit it to the 45 that you’ve already
       figured out that these are the most relevant, but the -- the key here, though, is that
       if -- if it’s exculpatory, they get it.

       MR. ARMSTRONG: Understood. I --

       THE COURT: I don’t want to try this twice. It’s going to be hard enough to try
       once.

Id. at 84:14–85:23.

       On September 12, 2023, the Court memorialized a number of its rulings from the

September 7 conference in a written Order (“September 12 Order”). [ECF No. 414]. The Court

reiterated that the government must disclose “exculpatory records concerning the stocks that are

the basis of the charges and the stocks included in all of the extraneous trades that the

Government is seeking to admit into evidence,” including “all exculpating SEC and FINRA

records.” Id. at 1 (emphasis added). The Court also directed the government to provide “an




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update on this production by October 13, 2023,” given that “this production may be

problematic.” Id.

       On September 20, 2023, counsel for Constantinescu sent the government a letter

reiterating its Brady obligations and outlining specific items likely in the possession, custody, or

control of the SEC and/or FINRA that should be reviewed for Brady material, consistent with the

Court’s rulings at the September 7 conference and in its September 12 Order (“September 20

Brady Letter”). [See ECF No. 448-1]. The government never responded to Constantinescu’s

September 20 Brady Letter.

       On October 13, 2023, without conferring with defense counsel, the government

represented to the Court that it had asked FINRA for “[d]ocuments evidencing the conclusion of

investigations or reviews” for the relevant time period concerning the Defendants or “any of the

stock tickers . . . appended as Exhibit 1 [to its Access Request letter].” [ECF No. 446]. Exhibit 1

to the Access Request letter is a list of 54 episodes selected by the government, not the 397

episodes forming the basis of the conspiracy charge and the basis for the government’s prior

expert reports. [See ECF No. 446-1]. The Access Request letter itself, which the government also

attached to its October 13 filing, makes no reference to Brady or “exculpatory” material, no

reference to Meme Stocks, and does not reference or attach the Court’s September 12 Order.2

The government maintained that what it requested from FINRA was “broader than the Court’s

Order requiring the production of only ‘exculpatory’ materials.” [ECF No. 446 at 2].




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  The letter also indicates that DOJ “will inform FINRA in the event that [it] institutes public
proceedings based upon the information obtained through this grant of access.” Access Request
letter at 3 [ECF No. 446-1]. In other words, the Access Request letter was little more than a cut-
and-paste from a form letter DOJ would send FINRA during an investigation.

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       As for the SEC, the government likewise contended that it had “sought . . . a broader

universe of information than required by the Order.” Id. at 2. And as with the FINRA request, the

government appears to have limited its request to the SEC to the same 54 episodes, not the 397

episodes that form the basis of the conspiracy charge against Defendants and the government’s

initial expert opinions. See id. at 3. The government stated that it would be producing the SEC’s

“Investigative File,” including “notes of interview[s] of three individuals,” id. at 3, although the

government has only produced notes of the DOJ’s and FBI’s––not notes reflecting conversations

between these individuals and the SEC without the DOJ or FBI present. As with the requests to

FINRA, the government did not indicate in its October 13 filing whether it sent the Court’s

September 12 Order to the SEC or otherwise explained to the SEC what constitutes Brady

material.

       On October 16, 2023, Constantinescu responded to the government’s October 13 filing,

attaching the September 20 Brady Letter and explaining why the government’s efforts as

outlined in its October 13 reflect direct defiance of the Court’s Brady order and what is required

under Brady. [See ECF Nos. 448, 448-1]. Constantinescu requested that the Court enter an

additional order to prompt the government to comply with the Court’s prior orders or otherwise

hold a hearing on the issue. Constantinescu also pointed out that the government’s refusal to

search for Brady material doomed its money-laundering charge against him (Count Twenty-One)

under controlling Fifth Circuit precedent. [ECF No. 448 at 4].

       On October 18, 2023, the government filed a Notice indicating “it will not pursue Count

21 of the Superseding Indictment at trial in this case and will move to dismiss it at the pretrial

conference.” [ECF No. 449]. The same day, the government replied to other aspects of

Constantinescu’s October 16 filing, reiterating its position that it would not ask the SEC or




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FINRA to search beyond the 54 episodes identified by the government (even though the

conspiracy charge reflects 397 episodes) or for any Meme Stock materials. [See ECF No. 450].

       On October 20, 2023, Constantinescu filed a Notice of Applicable Law outlining why the

government’s unilateral efforts to purportedly limit its trial presentation did not absolve it of its

obligations to search for exculpatory material relevant to all stocks forming the basis of the

charges in this case, specifically Count 1, the conspiracy charge. [See ECF No. 453]. Counsel for

Constantinescu also sent the government yet another letter outlining concerns regarding the

government’s failure to properly search for and produce exculpatory material under Brady; the

Court’s orders; and Rules 3.09(d) and 3.04(a) of the Texas Disciplinary Rules of Professional

Conduct, which are applicable under the McDade Amendment, 28 U.S.C. § 530B; 28 C.F.R.

§ 77.2 (“October 20 Brady Letter”).

       In the interim, on January 5, 2024, the government indicated it would request that the

Court enter a deadline of January 26, 2024, for Defendants’ expert reports, one week after the

government’s supplemental exhibit and witness list is to be filed on January 19, 2024. On

January 9, 2024, the government so moved. [ECF No. 490]. On January 10, 2024, the Court

ordered Defendants to disclose experts reports on January 31, 2024. [ECF No. 493].

                                       LEGAL STANDARD

       The Supreme Court has often observed: “There can be no question that courts have

inherent power to enforce compliance with their lawful orders through civil contempt.” E.g.,

Shillitani v. United States, 384 U.S. 364, 370 (1966) (citations omitted).3 The “inherent



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  Although the underlying proceedings here are criminal, the nature of the contempt relief sought
through this Motion is civil, not criminal. See Shillitani, 384 U.S. at 370 (concluding that holding
individual in contempt for failing to appear for criminal grand-jury subpoena was civil in nature
because it was intended to compel compliance and not intended to punish); Lyn-Lea Travel
Corp. v. Am. Airlines, Inc., 283 F.3d 282, 290–91 (5th Cir. 2002) (“A contempt order is civil in

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authority” to enforce court orders through contempt “is of ancient and traditional origins.” Acord

v. Saenz, No. CIV.A. H-09-2587, 2009 WL 2870009, at *6 (S.D. Tex. Aug. 28, 2009) (quoting

Armstrong v. Guccione, 470 F.3d 89, 101-102 (2d Cir. 2006)).

       A litigant moving for contempt “bears the burden of establishing by clear and convincing

evidence 1) that a court order was in effect, 2) that the order required certain conduct by the

respondent, and 3) that the respondent failed to comply with the court’s order.” Martin v. Trinity

Indus., Inc., 959 F.2d 45, 47 (5th Cir. 1992) (citing Petroleos Mexicanos v. Crawford Enters.,

Inc., 826 F.2d 392, 401 (5th Cir. 1987)). “Intent is not an issue in civil contempt proceedings;

rather, the question is whether the alleged contemnors have complied with the court’s order.”

Whitfield v. Pennington, 832 F.2d 909, 913 (5th Cir. 1987) (citing Jim Walter Resources v. Int’ l

Union, United Mine Workers of America, 609 F.2d 165, 168 (5th Cir. 1980)). Once a movant has

shown a violation of a court order, the “burden” falls on the respondent “to show either

mitigating circumstances that might cause the district court to withhold the exercise of its

contempt power, or substantial compliance with the . . . order.” Id. (citations omitted).

       As to the government’s Brady obligations, it is well settled that “a defendant’s due

process rights are violated when the prosecution suppresses evidence that is exculpatory.” United

States v. Cessa, 861 F.3d 121, 128 (5th Cir. 2017) (citing Brady v. Maryland, 373 U.S. 83, 87

(1963)). Evidence is exculpatory if it is “material either to guilt or to punishment.” United States

v. Sipe, 388 F.3d 471, 477–78 (5th Cir. 2004) (quoting Brady, 373 U.S. at 87).

       There is also no question that “[i]mpeachment evidence falls within Brady’s reach.”

United States v. Miller, 520 F.3d 504, 514 (5th Cir. 2008) (citation omitted); Sipe, 388 F.3d at




nature if the purpose of the order is . . . to coerce compliance with a court order[.]” (citation
omitted)).

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478 (“[I]f the impeaching evidence would seriously undermine the testimony of a key witness on

an essential issue or there is no strong corroboration, the withheld evidence has been found to be

material.” (internal quotation marks and citation omitted)). In other words, “[i]mpeachment

evidence falls within the Brady disclosure rule because such evidence may make the difference

between conviction and acquittal.” Banks v. Thaler, 583 F.3d 295, 311 (5th Cir. 2009) (citing

United States v. Bagley, 473 U.S. 667, 676 (1985) (quotations and alterations omitted)). And

prosecutors have an affirmative duty to “learn of any favorable evidence known to the others

acting on the government’s behalf.” Kyles v. Whitley, 514 U.S. 419, 437 (1995).

       The government is also bound by any local rules that enlarge or expand its ethical

obligations, including under Brady. This Court has observed: “It goes without saying that the law

requires Justice Department attorneys to act in conformance with the ethical standards of the

locales in which they practice.” Texas v. United States, Civ. No. B-14-254, 2017 WL 11698657,

at *6 (S.D. Tex. Jan. 19, 2017) (Hanen, J.).

                                          ARGUMENT

  I.   The government has failed to comply with the Court’s orders to disclose Brady
       material to Defendants.

       There can be no dispute that Constantinescu satisfies the first two prongs required for the

Court to make a finding of contempt: the Court ordered the government to produced Brady

material, including from the DOJ, the SEC, and FINRA. Constantinescu also satisfies the third

prong because the government has failed to follow the Court’s orders, notwithstanding repeated

prodding by counsel for Constantinescu.

       For example, shortly after the Court’s September 12 Order Constantinescu requested

under the heading “Specific Materials Likely to be within the Possession, Custody, or

Control of the SEC and/or FINRA to be Searched for Brady Material” that the government



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search for Brady material in “[a]ny SEC and/or FINRA communications with the following

individuals and/or their lawyers or agents concerning any of the stocks at issue, any of the

purported 397 episodes, and/or any of the defendants in this action: . . . Hutchinson Bernot[.]”

See September 20 Brady Letter at 4–5 [ECF No. 448-1]. In the same letter, Constantinescu also

requested the government search for Brady material in:

               5. Any documents, records, internal or external communications, or the like
       concerning the October 14, 2021 Staff Report on Equity and Options Market
       Structure Conditions in Early 2021 (the “Meme-Stock Report”), including the
       underlying investigation that led to the Meme-Stock Report and preparations for all
       congressional hearings and testimony regarding the Meme-Stock Report and
       related issues, including notes, communications, and preparatory materials related
       to Gary Gensler’s May 2021 testimony before [C]ongress.

               6. Any documents records, or communications defining a “meme stock,”
       any lists of stocks designated as “meme stocks,” or any documents, records, or
       communications regarding whether a specific stock constitutes a “meme stock,”
       including, but not limited to, any such document, record, list, or communication
       that includes any stock ticker included in the purported 397 episodes identified by
       the government.


Id. at 5. The government did not respond to Constantinescu’s September 20 Brady letter or indicate

that it had sent the letter to the SEC or FINRA. Instead, it opted to reproduce hundreds of thousands

of documents comprising tens of millions of pages it previously disclosed, hardly indicative of a

meaningful review for Brady material.

       As to Bernot, the government has not produced statements made by him in the possession

of the SEC that Constantinescu has reason to believe exist and has reason to believe are

exculpatory. The limited communications regarding Bernot the government has disclosed to date

identify him as a purported “SEC whistleblower” who worked on co-defendant Dan Knight’s

podcast: Pennies Going In Raw. It is thus inconceivable the SEC does not have additional

communications with Bernot—whom the government listed on both its August 11, 2023 and

January 19, 2024 witness lists—regarding Constantinescu and the facts underlying this case.


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       The government also appears to have produced nothing about “meme stocks” or

information regarding the “Meme-Stock Report” since September. That is notwithstanding that

this was the primary focus of Constantinescu’s Second Brady Motion and his specific requests

that it search such documents for Brady material in the September 20 Brady Letter. That letter

followed on the heels of the Court’s instruction to the government at the September 7 pretrial

conference hearing invoking GameStop as a meme stock similar to ones that form the basis of

the government’s charges against Constantinescu:

       THE COURT: . . . [I]f you are [going to bring in a stock like GameStop], [the
       Defendants are] entitled to say, “Wait a minute. That doesn’t have anything to do
       with the price of tea in China.” GameStop, you know, went through the roof
       because there was this underground movement of “stick it to the man,” and, you
       know, people all over the United States, you know, got in on it, you know. And if
       there is an SEC -- if that’s part of your case -- and I’m using that one as an example
       just because I happen to know about that one. . . . you know, they’re entitled to
       combat that, and if you’ve got an SEC investigation that says, you know, these
       defendants didn’t have anything to do with GameStop going through the roof,
       they’re entitled to see that.

       MR. ARMSTRONG: Your Honor, I think we have that report. I -- I don’t -- sitting
       here today, I have no idea what the analysis was that --

       THE COURT: Well, and I don’t know either, but what I hear is you haven’t -- you
       don’t -- you’ve never seen it. I hear the defendants giving somewhat cogent
       evidence that it exists. Now, some of it may be speculation. Maybe it doesn’t exist.
       But I’m ordering you to find out if it does, and if it’s exculpatory, I’m ordering you
       to produce it.

See Sept. 7 Tr. 56:23–58:2.4 It is worth noting again that the government has purported to limit

its trial proof but has decided not to narrow its charging instrument, apart from conceding it must

drop Count Twenty-One.



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 Notably, GameStop and AMC (AMC being a stock that Constantinescu “called” and that led to
him gaining hundreds of thousands of Twitter followers) are routinely discussed in the same
breath, including by SEC Chair Gary Gensler. See, e.g.,
https://www.nytimes.com/2022/02/09/business/stock-market-trades-sec-robinhood.html (last
visited Jan 22, 2024).

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        The Brady material the government refuses to search for, or otherwise continues to

withhold, is relevant both to Defendants’ potential cases in chief and to impeach the credibility

of the government’s witnesses, including its purported experts. As to case in chief, one or more

Defendants may seek to affirmatively present to the jury evidence that (1) a Defendant’s

particular statement about a specific stock was not false and (2) even if arguably false, the

Defendant’s statement was not the cause of any loss suffered by the reader. Material likely in the

possession of the SEC, including additional information from Bernot and analyses regarding the

price movements of Meme Stocks, is relevant to both aspects of such a defense, among other

exculpatory evidence likely in the possession of the SEC and FINRA. See United States v. Cessa,

861 F.3d 121, 129 (5th Cir. 2017) (reversing and remanding finding of no Brady violation where,

“[a]t trial, Colorado’s defense theory was that he bought horses for the Zetas using his own (or

his company’s) money. He explained that he spent millions of dollars on horses for the Zetas

because he feared them. Nayen’s statements in the [previously undisclosed] 302s supported both

points.”).

        As for impeachment, the Fifth Circuit’s opinion in Sipe is instructive. There, the court of

appeals affirmed the district court’s decision to grant the defendant a new trial after it came to

light that “the prosecution violated its Brady duty by suppressing favorable material evidence.”

United States v. Sipe, 388 F.3d 471, 473 (5th Cir. 2004). Among the evidence suppressed was a

“Prosecution Memorandum revealing [a government witness’s] dislike for [defendant] Sipe.” Id.

at 480. The Fifth Circuit turned aside the government’s argument—similar to arguments made by

the government here—that Sipe had the opportunity to cross examine the witness about his

dislike for Sipe and that the Prosecution Memorandum was not actually favorable to Sipe,

reasoning that the argument “permits the government to usurp the role of the court and unfairly




                                                 14
limit the options of a criminal defendant.” Id. at 482. As to another piece of suppressed evidence,

the court of appeals struck a similar note in response to arguments from the government, pointing

out that “[e]vidence may be material under Brady even though it is inadmissible.” Id. at 485

(citing Spence v. Johnson, 80 F.3d 989, 1005 n.14 (5th Cir. 1996)). To the extent the SEC has

evidence reflecting Bernot’s interpersonal issues with co-defendant Dan Knight, that too should

be produced. Constantinescu’s counsel has strong reason to believe such evidence exists and that

it will be damaging to Bernot’s testimony, which provides color as to why the government has

undergone such lengths to seek to quash and successfully modify Constantinescu’s subpoena of

Bernot.

          It is no answer to repeated requests for Brady material for the government to state, as it

has here: “To be sure, the United States will prosecute this case at trial with the information

already produced to Defendants in discovery in this case.” See Oct. 13 Notice at 3 [ECF No.

446]. That the government intends to prosecute its case without relying on evidence that

exculpates Defendants should shock no one. The government still has a duty to identify and

disclose such evidence.

 II.      The government’s violation of the Court’s orders warrants a continuance of the
          current April 1, 2024 trial date and a finding of contempt to coerce compliance.

          The Court observed during the September 7 conference: “I don’t want to try this twice.

It’s going to be hard enough to try once.” Proceeding to trial before the government has satisfied

its Brady obligations is a proven method for inviting reversible error and having to try this case

twice. See, e.g., Sipe, 388 F.3d at 473; United States v. Kohring, 637 F.3d 895, 898 (9th Cir.

2011) (“We conclude that the newly-disclosed information, when viewed collectively, is material

and that the prosecution violated Brady/Giglio. We vacate Kohring’s conviction and remand to

the district court for a new trial.”); see also Mahler v. Kaylo, 537 F.3d 494, 503 (5th Cir. 2008)



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(“Because we conclude that the State did violate its Brady obligations, we reverse the district

court’s denial of Mahler’s writ of habeas corpus and remand with instructions to grant it.”).

       As acknowledged in the first Brady order entered in this case, and consistent with the

Court’s observations at the September 7 conference, the Court is well within its authority to

continue the current trial date of April 1, 2024, so as to prompt the government to fulfill its

Brady obligations. Constantinescu also respectfully submits that the government’s repeated

refusal in this case to look for and disclose exculpatory information within its possession,

custody, or control, notwithstanding clear orders to do so, warrants a finding of civil contempt.

                                          CONCLUSION

       For all the foregoing reasons, the government has violated the Court’s Brady orders.

Constantinescu respectfully requests that the Court continue the current trial date to prompt

compliance with the Court’s orders and direct the government to show cause why it should not

be held in civil contempt.



Dated: January 22, 2024                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on all counsel of

record via the Court’s CM/ECF system.



Dated: January 22, 2024

                                                     /s/ Matthew A. Ford
                                                     Matthew A. Ford




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